Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 1 of 9 PageID #: 16706




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                   )
  PARALLEL NETWORKS                                )
  LICENSING, LLC,                                  )
                                                   )
            Plaintiff,                             )         C.A. No. 13-2073-KAJ-SRF
                                                   )
  v.                                               )         JURY TRIAL DEMANDED
                                                   )
  MICROSOFT CORPORATION,                           )
                                                   )
            Defendant.                             )
                                                   )
                                                   )

                       PARALLEL NETWORKS’ MOTION FOR LEAVE
                  TO SUPPLEMENT THE EXPERT REPORT OF JOHN R. BONE

       I.   Introduction

            Plaintiff Parallel Networks Licensing, LLC (“Parallel Networks”) requests leave to

  supplement the expert report of John R. Bone pursuant to Federal Rules of Civil Procedure

  26(e)(1) and 37(c)(1) in light of the Court’s February 22, 2017 Order granting Defendant

  Microsoft Corporation (“Microsoft’s”) motion to “exclude evidence related to a survey

  conducted by Dr. Bruce Isaacson” (D.I. 355) and its impact on Mr. Bone’s damages analysis.

  Mr. Bone’s Second Supplemental Expert Report is attached as Exhibit 1.1

            In his August 7, 2015 Opening Report, Mr. Bone relied on Dr. Isaacson’s survey for two

  steps of his apportionment analysis resulting in his calculation of the incremental profit

  attributable to the infringing components of Window Server including IIS and ARR: (1)

  apportioning the total Windows Server revenue to revenue associated with ARR; and (2)



  1
    Mr. Bone’s Second Supplemental Expert Report also includes updated financial information
  reflecting the U.S. sales of the Microsoft Accused Products from October 2014 to April 2016
  pursuant to agreement of the parties. Exhibits referenced herein are appended to the Declaration
  of Angela M. Vorpahl in support of this Motion filed contemporaneously herewith.
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 2 of 9 PageID #: 16707




  apportioning the revenue associated with ARR from other non-patented features, to estimate the

  relative contribution of patented features compared to non-patented features. See, e.g., Exhibit 2

  (Bone August 7, 2015 Opening Report) ¶ 16. In his Second Supplemental Report, Mr. Bone uses

  data previously disclosed in his opening report to calculate both apportionment steps without

  reliance on Dr. Isaacson’s survey or modification of his overall damages methodology.

   II.   Supplementation is Proper under Rule 26(e)(1)

         Rule 26(e)(1) requires that a party supplement its expert report in a timely manner if “the

  party learns that in some material respect the disclosure or response is incomplete or incorrect,

  and if the additional or corrective information has not otherwise been made known to the other

  parties during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1). This Court has noted

  that a party has an “obligation” pursuant to Rule 26(e)(1) to timely supplement its expert report if

  the party’s view of damages is “somehow changed” by the Court’s ruling. Philips Elecs. N. Am.

  Corp. v. Contec Corp., 2005 U.S. Dist. LEXIS 3718, at *17 (D. Del. Mar. 8, 2005) (Jordan, J.).

         Other courts have likewise found that supplementation of expert reports is proper under

  Rule 26(e)(1). See Lackey v. Robert Bosch Tool Corp., 2017 U.S. Dist. LEXIS 4956, at *12

  (E.D. Ky. Jan. 12, 2017) (“Rule 26(e) requires parties to ‘supplement or correct’ a prior

  disclosure if they later learn that it was ‘incomplete or incorrect’ in ‘some material respect.’”);

  TracBeam, L.L.C. v. Google, Inc., 2014 U.S. Dist. LEXIS 193246, at *8 (E.D. Tex. Apr. 14,

  2014) (“By its own terms, Rule 26(e) provides a party ‘must supplement or correct [its expert

  reports] if the party learns in some material respect [the expert report] is incomplete or

  incorrect.’”) (brackets in original); Paris v. R.P. Scherer Corp., 2006 U.S. Dist. LEXIS 52259, at

  *5-6 (D.N.J. July 26, 2006) (permitting the plaintiffs to supplement their expert report pursuant




                                                   2
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 3 of 9 PageID #: 16708




  to Rule 26(e)(1) “to the extent that the report contained incomplete or incorrect information” as

  long as the plaintiff did not “interject new data or evidence”).

         As explained above, because the Court excluded Dr. Isaacson’s survey and Mr. Bone’s

  reliance thereon, Mr. Bone’s opening report must be supplemented to account for the now

  “incomplete or incorrect” steps of his apportionment analysis for which Mr. Bone had previously

  relied upon Dr. Isaacson’s survey. Mr. Bone’s supplemental report does so by using data and

  evidence previously disclosed in his opening report to accomplish the two apportionment steps

  described above without modifying his overall methodology. Mr. Bone’s supplementation is

  proper under Rule 26(e)(1) in light of the Court’s rulings.

  III.   Supplementation is Proper under Rule 37(c)(1)

         Alternatively, Rule 37(c)(1) permits a party to supplement its expert report if the

  supplementation is “substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see Hubbell

  v. Carney Bros. Constr., 2011 U.S. Dist. LEXIS 34910, at *6 (D. Colo. Mar. 23, 2011) (“A party

  is permitted to supplement an expert report after the close of discovery if the failure to

  supplement the report timely is ‘substantially justified or harmless.’”). “[S]upplementation may

  be proper even when it is in response to questions or challenges to the expert’s opinion raised by

  the opposing party.” Charles v. Sanchez, 2015 U.S. Dist. LEXIS 22752, at *23 (W.D. Tex. Feb.

  24, 2015). In determining whether an expert report may be supplemented, Third Circuit courts

  apply the Pennypack factors: “(1) the importance of the information withheld; (2) the prejudice

  or surprise to the party against whom the evidence is offered; (3) the likelihood of disruption of

  the trial; (4) the possibility of curing the prejudice; (5) the explanation for the failure to disclose;

  and (6) the presence of bad faith or willfulness in not disclosing the evidence.” Abbott Labs. v.




                                                     3
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 4 of 9 PageID #: 16709




  Lupin Ltd., 2011 U.S. Dist. LEXIS 53846, at *8 (D. Del. May 19, 2011); Meyers v. Pennypack

  Woods Home Ownership Ass’n, 559 F.2d 894, 904-905 (3d Cir. 1977).

         First, allowing Mr. Bone to supplement his expert report through use of data previously

  disclosed in his opening expert report is of the utmost importance because in striking Dr.

  Isaacson’s survey the Court eliminated certain data points used in Mr. Bone’s apportionment

  steps. If Mr. Bone is not permitted to supplement his report there will necessarily be “incomplete

  or incorrect” information in Mr. Bone’s damages opinion.

         Second, the prejudice or surprise to Microsoft is minimal. The information relied upon by

  Mr. Bone in his supplemental report are documents and testimony previously disclosed in Mr.

  Bone’s August 7, 2015 Opening Report, responded to by Mr. Murphy in his September 8, 2015

  rebuttal expert report and Dr. Long in his September 8, 2015 rebuttal expert report, and testified

  to by Mr. Bone and Mr. Murphy at their depositions in September 2015 and October 2015.2

         In lieu of using Dr. Isaacson’s survey to (1) apportion the total Windows Server revenue

  to revenue associated with ARR, Mr. Bone relies on Microsoft documents identifying the

  number of ARR downloads and algorithms. See Exhibit 1 (Bone Second Supplemental Report)

  ¶¶ 15-19. Mr. Bone previously discussed Microsoft’s ARR download data and the ARR

  algorithms in his original expert report. See, e.g., Exhibit 2 (Bone Aug. 7, 2015 Report) ¶¶ 65-70,

  224-231. Microsoft’s counsel questioned Mr. Bone about this information at his deposition. See

  Exhibit 3 (Bone Oct. 2, 2015 Dep. Tr.) at 72:18-77:5 (discussing ARR download data); 42:8-

  72:17 (discussing ARR infringing algorithms versus non-infringing algorithms). Microsoft’s

  experts even addressed Mr. Bone’s reliance on this information in their rebuttal expert reports.

  See Exhibit 4 (Murphy Sept. 8, 2015 Report) ¶¶ 125-127 (critiquing Mr. Bone’s reliance on ARR

  2
   The only new data in Mr. Bone’s supplemental report is the updated U.S. sales of the Microsoft
  Accused Products from October 2014 to April 2016 pursuant to agreement of the parties.


                                                  4
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 5 of 9 PageID #: 16710




  download data); ¶¶ 15-16, 18, 20, 51, 63, 71, 77-78, 80-92, 124, 170, 173-174, 176, 182, 187,

  189-191, 194-197 (critiquing Mr. Bone’s estimate of value based on the infringing ARR

  algorithms rather than the non-infringing ARR algorithms); see also Exhibit 5 (Long Sept. 8,

  2015 Report) ¶¶ 52-63, 184-186 (discussing how each of the ARR load-balancing algorithms can

  be utilized as a non-infringing alternative); ¶¶ 164-166 (claiming that certain ARR algorithms

  cannot be implemented in an infringing manner).

         In place of using Dr. Isaacson’s survey evidence to (2) apportion the revenue associated

  with ARR from other non-patented features, Mr. Bone considers the description of ARR features

  found in a Microsoft document. See Exhibit 1 (Bone Second Supplemental Report) ¶¶ 9, 31. The

  Microsoft document relied upon in Mr. Bone’s supplemental report is referenced in Mr. Bone’s

  original report. See Exhibit 2 (Bone Aug. 7, 2015 Report) ¶ 67 n.104. Microsoft’s experts also

  addressed Mr. Bone’s reliance on this information in their rebuttal expert reports and at

  deposition. Exhibit 4 (Murphy Sept 8, 2015 Report) ¶¶ 113-116, 128-131; Exhibit 5 (Long Sept.

  8, 2015 Report) ¶¶ 41-51, 172, 187; Exhibit 6 (Murphy Sept. 28, 2015 Dep. Tr.) at 106:13-

  107:25, 266:13-274:12, 284:9-290:7.

         The requested supplementation applies data points already present in Mr. Bone’s original

  report. Microsoft will suffer no prejudice because the data and information on which Mr. Bone

  will rely is already contained within his opening expert report, and Microsoft has already had the

  opportunity to consider the data, cross-examine Mr. Bone on the data, and rebut the data with its

  own experts.3 Mr. Bone does not rely on any previously undisclosed data or information.




  3
    As noted below, Parallel Networks does not object to Microsoft either supplementing its own
  reports and/or conducting follow-up cross-examination of Mr. Bone.


                                                  5
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 6 of 9 PageID #: 16711




         Third, Mr. Bone’s supplementation—proposed to be served over two months before

  trial—should not disrupt the trial schedule. Following the Court’s exclusion of the survey,

  Parallel Networks has moved quickly to supplement Mr. Bone’s report.

         Fourth, any alleged prejudice to Microsoft can be cured by allowing Microsoft to submit,

  if necessary, a supplemental rebuttal report and/or allowing Microsoft to depose Mr. Bone on the

  content of his supplemental expert report.

         Fifth, Parallel Networks did not conceal or otherwise “hold back” anything now included

  in Mr. Bone’s supplemental expert report. As noted above, the data relied upon by Mr. Bone in

  the supplemental report was already included in Mr. Bone’s opening expert report. The

  supplemental report is being offered solely to address the Court’s February 22, 2017 Order

  excluding Dr. Isaacson’s survey and “any expert testimony that relies on it.”

         Sixth, Parallel Networks has acted in good faith in timely requesting leave to supplement

  Mr. Bone’s expert report following the Court’s February 22, 2017 Order excluding Dr.

  Isaacson’s survey. Parallel Networks moved quickly to present Microsoft and the Court with Mr.

  Bone’s supplementation.

  IV.    Conclusion

         For the reasons set forth above, Parallel Networks requests that the Court grant its Motion

  for Leave to Supplement the Expert Report of John R. Bone, attached at Exhibit 1.




                                                  6
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 7 of 9 PageID #: 16712




  OF COUNSEL                                YOUNG CONAWAY STARGATT &
                                            TAYLOR, LLP
  MCKOOL SMITH, PC
  Douglas A. Cawley                         /s/ Adam W. Poff
  Christopher T. Bovenkamp                  Adam W. Poff (No. 3990)
  Eric S. Hansen                            Pilar G. Kraman (No. 5199)
  Avery R. Williams                         Rodney Square
  Justin W. Allen                           1000 North King Street
  300 Crescent Court, Suite 1500            Wilmington, DE 19801
  Dallas, TX 75201                          (302) 571-6600
  (214) 978-4940                            apoff@ycst.com
                                            pkraman@ycst.com
  Angela M. Vorpahl
  1 Bryant Park, 47th Floor                 Attorneys for Plaintiff Parallel Networks
  New York, NY 10036                        Licensing, LLC
  (212) 402-9432

  John B. Campbell
  Leah Bhimani Buratti
  Kevin P. Hess
  300 W. 6th Street, Suite 1700
  Austin, TX 78701
  (512) 692-8700

  Dated: March 2, 2017




                                        7
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 8 of 9 PageID #: 16713




                                   CERTIFICATE OF SERVICE


           I, Adam W. Poff, Esquire, hereby certify that on March 2, 2017, I caused to be

  electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

  using CM/ECF, which will send notification that such filing is available for viewing and

  downloading to the following counsel of record:

                  Martina Tyreus Hufnal, Esquire
                  Ronald P. Golden, III, Esquire
                  Fish & Richardson P.C
                  222 Delaware Avenue, 17th Floor
                  P.O. Box 1114
                  Wilmington, DE 19899-1114
                  MS_ParallelNetworksService@fr.com

                  Attorneys for Defendant Microsoft Corporation

           I further certify that on March 2, 2017, I caused a true and correct copy of the foregoing

  document to be served by e-mail on the above-listed counsel of record and on the following:

                  Juanita R. Brooks, Esquire
                  Jason W. Wolff, Esquire
                  Fish & Richardson P.C.
                  12390 El Camino Real
                  San Diego, CA 92130

                  Stephen A. Marshall, Esquire
                  Fish & Richardson P.C.
                  1425 K Street, NW
                  11th Floor
                  Washington, DC 20005

                  Ajit S. Dang, Esquire
                  Fish & Richardson P.C.
                  1180 Peachtree Street NE
                  21st Floor
                  Atlanta, GA 30309
                  MS_ParallelNetworksService@fr.com

                  Attorneys for Defendant Microsoft Corporation




  01:15161951.1
Case 1:13-cv-02073-KAJ-SRF Document 366 Filed 03/02/17 Page 9 of 9 PageID #: 16714




                                    YOUNG CONAWAY STARGATT
                                    & TAYLOR, LLP


                                    /s/ Adam W. Poff
                                    Adam W. Poff (No. 3990)
                                    Pilar G. Kraman (No. 5199)
                                    Rodney Square
                                    1000 North King Street
                                    Wilmington, Delaware 19801
                                    (302) 571-6600
                                    apoff@ycst.com

                                    Attorneys for Plaintiff




                                         2
  01:15161951.1
